                                                                                         FILED
                                                                                     IN OPEN COURT
                  IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF VIRGINIA                                  8 2018

                                     Alexandria Division


UNITED STATES OF AMERICA                           Criminal No. l:18-cr-89(TSE)

             V.                                    Count One: 18 U.S.C. § 794(a)&(c)
                                                   Conspiracy to Gather or Deliver Defense
JERRY CHUN SHING LEE,                              Information to Aid a Foreign Government

                                                   Count Two: 18 U.S.C. § 793(e)
               Defendant.                          Unlawful Retention of National Defense
                                                   Information

                                                   Count Three: 18 U.S.C. § 793(e)
                                                   Unlawful Retention of National Defense
                                                   Information


                                       INDICTMENT


                             MAY 2018 TERM - At Alexandria

      THE GRAND JURY CHARGES THAT:

      At all times material to this Indictment, except as otherwise indicated:

                                GENERAL ALLEGATIONS


                                        The Defendant


       1.     Jerry Chun Shing Lee("LEE")is a naturalized United States citizen who resided
in Hong Kong. He was bom in Hong Kong but grew up in Hawaii. LEE served in the U.S.
Army from 1982 to 1986. He graduated from Hawaii Pacific University in 1992 with a
bachelor's degree in Intemational Business Management, and in 1993 he received a master's
degree in Human Resource Management. LEE entered duty with the Central Intelligence
Agency("CIA")in 1994.
       2.      In 2007,LEE was assigned as a CIA case officer overseas. His primary duty was
to maintain contact with foreign officials.

       3.      In July 2007, LEE resigned from the CIA.

       4.      In July 2007, LEE resided in Hong Kong and began working for a large
international tobacco company. He was terminated ifrom that company in June 2009 but
continued to receive payments from it until May 2010.

        5.     In June 2010,LEE and an associate registered a business, FTM International

("FTM"),in Hong Kong. FTM's stated purpose was to facilitate the import of cigarettes into
China by serving as an intermediary between foreign tobacco companies and China's State
Tobacco Monopoly Admmistration.

        6.     FTM was not financially successful. By in or about December 2011, LEE sold

his stake in FTM to his business associate.

                      Chinese Intelligence Services and Associated Terms

        7.      The People's Republic of China("PRC")intelligence services encompassed both
the civilian and military components of Chinese intelligence programs. The PRC's Ministry of
State Security("MSS")handled civilian intelligence collection and was responsible for counter-
intelligence and foreign intelligence, as well as political security. The MSS consisted ofa
 central ministry, provincial state security departments, and municipal state security bureaus.
        8.      Among other things, the MSS and its regional bureaus focused on identifying and
 influencing the foreign policy of other countries, including the United States. The MSS and its
 bureaus sought to obtain information on political, economic,and security policies that might
 affect the PRC,foreign intelligence operations directed at the PRC,and biographical profiles of
 foreign politicians and intelligence officers("lOs").
       9.      Additionally, the MSS and its bureaus were tasked with conducting clandestine

and overt human source operations, of which the United States was a principal target. These

operations used trained lOs, as well as non-professional collectors.

       10.     Unindicted co-conspirators 1 and 2("CC#1" and "CC#2")are residents ofthe

PRC and were known to LEE to be lOs with the MSS.

                                             The CIA


       11.     The CIA was a U.S. government intelligence agency with various offices and

facilities, and was a component ofthe United States Intelligence Community("USIC"). The

CIA's primary facility and headquarters were in the Eastern District of Virginia. The CIA was

responsible for, among other things, collecting(including through clandestine means),

producing, and disseminating foreign intelligence and counterintelligence used to inform U.S.

policy-makers; conducting counterintelligence activities; conducting administrative and technical
support activities; conducting covert action activities approved by the President; and conducting
foreign liaison relationships with intelligence and security services offoreign governments. The

collection offoreign intelligence is, in part, done through the use ofsources or assets. Sources or

assets are people who agree to help a foreign intelligence service by providing information to

that service in response to taskings from foreign intelligence officers or agents.

        12.    During his time at the CIA,LEE served as a case officer. A case officer's

primary mission is to recruit clandestine human intelligence sources. As a CIA case officer, LEE

had access to the identities ofcovert CIA officers; the identities ofclandestine human sources;

details of sensitive intelligence collection operations and methods; details of CIA clandestine

training; and details ofclandestine tradecraft the Agency employs to avoid detection by hostile
foreign intelligence services. As a CIA case officer, LEE was trained in methods of covert
communication, surveillance detection, and operational security, for purposes ofconducting

authorized intelligence activities for the United States. The same methods in which LEE was

trained could be employed against the United States.

                                     Classified Information


       13.    Pursuant to Executive Order 12958 signed on April 17,1995, as amended by

Executive Order 13292 on March 25,2003, and Executive Order 13526 on December 29,2009,

national security information was classified as"TOP SECRET,""SECRET,"or

"CONFIDENTIAL." National security information was information owned by, produced by,

produced for, and under the control ofthe United States government that was classified as

follows:


       a.     Information was classified as TOP SECRET ifthe unauthorized disclosure ofthat
              information reasonably could be expected to cause exceptionally grave damage to
              the national security that the original classification authority was able to identify
              and describe.


       b.     Information was classified as SECRET ifthe unauthorized disclosure ofthat
              information reasonably could be expected to cause serious damage to the national
              security that the original classification authority was able to identify and describe.

       c.     Information was classified as CONFIDENTIAL if the unauthorized disclosure of
               that information reasonably could be expected to cause damage to the national
               security that the original classification authority was able to identify and describe.

       14.     Access to national security information classified at any level could be further

restricted through compartmentation in Sensitive Compartmented Information("SCI")

categories. Only individuals with the appropriate security clearance and additional SCI

permissions could have authorized access to such classified national security information.

        15.    Information classified at any level could only be lawfully accessed by persons

determined by an appropriate United States government official to be eligible for access to

classified information, who had signed an approved non-disclosure agreement, who received a
security clearance, and who had a "need to know"the classified information. Classified

information could only be stored in an approved facility and container.

                         LEE's U.S. Government Security Clearances

       16.     In the course of LEE's employment with the CIA, he served in various overseas

positions and locations, all of which required a Top Secret clearance. In addition to his Top

Secret clearance, LEE maintained SCI access to various sensitive programs.

       17.     Because LEE held a security clearance, the U.S. government entrusted him with

access to sensitive government materials, including classified documents and materials and

information relating to the national defense that was closely held by the government.

       18.     Throughout his career, as a prerequisite to his access to classified information,

LEE signed numerous non-disclosure forms in which he acknowledged both the harm that could

result fi'om the unauthorized disclosure of classified information and the applicability ofcriminal

sanctions, including Title 18, United States Code, Sections 793 and 794, should LEE make

unauthorized disclosures ofsuch information.

       19.     On or about July 13,2007, prior to leaving government service, LEE signed a

CIA security exit form that contained the following language:"I give my assurance that there is

no classified material in my possession, custody, or control at this time." LEE's security

clearance was terminated upon his departure Ifom government service.
                                           Count One


                  Conspiracy to Gather or Deliver Defense Information
                                 TO Aid a Foreign Government


       THE GRAND JURY FURTHER CHARGES THAT:

       1.      Paragraphs 1-19 ofthe General Allegations section ofthis Indictment are

incorporated by reference and re-alleged as though set forth fully herein.

       2.      From on or about April 26,2010 to on or about January 15, 2018,in the Eastern

District of Virginia and elsewhere, including locations outside ofthe jurisdiction of any

particular state or district, defendant JERRY CHUN SHING LEE did unlawfully and knowingly

conspire with others, known and unknown to the grand jury, to communicate, deliver, and

transmit to a foreign government,to wit: the Government ofthe People's Republic of China, and

representatives, officers, and agents thereof, directly and indirectly, documents, writings and

information relating to the national defense ofthe United States, with the intent and reason to

believe that such documents, writings and information were to be used to the injury ofthe United

States and to the advantage of a foreign government, namely,the Government ofthe People's

Republic of China.

                      MANNER AND MEANS OF THE CONSPIRACY


       A.      It was a part ofthe conspiracy that LEE would agree to transfer, and attempt to

transfer, to others, whom he believed to be 10s ofthe PRC,documents and information relating

to the national defense ofthe United States, in exchange for money.

       B.      It was further a part ofthe conspiracy that the lOs would provide LEE with email

accounts, phone numbers, and other means ofcommunication by which they could communicate

covertly with LEE in furtherance oftheir agreement for him to provide them with documents and

information relating to the national defense ofthe United States.
       C.      It was further a part ofthe conspiracy that, over time,the lOs would send LEE

numerous envelopes containing written taskings for him to carry out in exchange for money.

       D.      It was further a part ofthe conspiracy that the written taskings requested that LEE

provide documents and information relating to the national defense ofthe United States.
                                          OVERT ACTS


       In furtherance ofthe said conspiracy and to effect the objects thereof, the defendant and

other conspirators committed the following overt acts in the Eastern District of Virginia and

elsewhere, including, but not limited, to the following:

       1.      On or around April 26,2010,in Shenzhen, China, CC#1 and CC#2 met with LEE.

CC#1 and CC#2, who both spoke fluent Cantonese, said that they were aware of LEE's

background and that they were in the same professional field. LEE understood that to mean they
were Chinese IDs. CC#1 and CC#2 told LEE that they had prepared a gift of$100,000 cash in

exchange for his cooperation and that they would take care of him for life.

       2.      On or about May 11,2010, while overseas, LEE met with a CIA officer and

reported that the IDs had approached him. However,LEE did not reveal the lOs' offer of a
$100,000 gift or the offer to take care of him for life.

        3.     Sometime in or about May 2010, LEE began receiving a series of written taskings

from the lOs. The taskings were contained in envelopes that LEE's business associate delivered

to LEE. Some ofthe envelopes were accompanied by gifts for LEE. The majority ofthe taskings

asked LEE to reveal sensitive information about the CIA,including national defense information.

The lOs requested at least 21 different pieces ofinformation from LEE. The taskings continued
into at least 2011.
       4.      On or about May 14, 2010, LEE made or caused to be made into one of his

personal HSBC Bank accounts in Hong Kong a cash deposit of$138,000 HKD (approximately

$17,468 USD). This would be the first of hundreds ofthousands of dollars(USD equivalent) in

cash deposits LEE made or caused to be made into his personal HSBC accounts from this date

through December 2013.

       5.      On or about May 26, 2010,in Hong Kong,in response to two taskings LEE

received from the lOs, LEE created on his laptop computer a document that included entries

pertaining to certain locations to which the CIA would assign officers and a particular location of

a sensitive operation to which the CIA would assign officers with certain identified experience.

It was later determined that information LEE included in this document was national defense

information ofthe United States that was classified at the Secret level.

       6.      Sometime in or about the summer of 2010, in response to a tasking from the lOs,

LEE drew a sketch ofthe floor plan ofa particular CIA facility located abroad.

       7.      On or about July 12, 2010, LEE sent an email to his business associate, asking,

"Any meeting with our friends in China?''The business associate replied,"No any [sic] call from

the Chinese friends yet      Have you heard anything from the fiiends?" LEE then replied,

"That's OK if no action is taken at this time. In the meantime, I will maintain contact with our

friends,"


       8.      On or about July 13, 2010,the business associate emailed LEE and stated that he

had received a call from CC#2, who advised that CC#1 would be coming to Hong Kong soon

and would want to visit the business associate and LEE to "discuss the further arrangement ofthe

meeting before the meeting date." LEE responded,"Good news indeed."
       9.      On or about March 8, 2012,in McLean, Virginia, during an interview for

reemployment LEE was seeking with the CIA,LEE falsely stated that he had not traveled to

China for approximately two years.

       10.     On or about April 22,2012,an email account that included one of LEE's

daughter's names in the address was created from an IP address that resolved to Guangzhou,

China. This email address was one of several email addresses provided to LEE by the lOs so

that he could communicate covertly with them.

       11.     Beginning on or about June 4, 2012, and continuing until on or about June 8,

2012,in McLean, Virginia, LEE had additional interviews for re-employment with the CIA.

During these interviews, LEE provided the CIA with a falsified bank statement that falsely

showed that, as of April 30,2012,FTM had approximately $2,078,146.64 HKD in its HSBC

bank account when,in fact, the account had approximately $78,146.64 HKD. Lee falsely

claimed that FTM was profitable when,in fact, it was losing money. Lee also continued to

falsely claim that he had not traveled to China since the lOs contacted him.

       12.     On or about Jime 6,2012,in Vienna, Virginia, LEE possessed in his hotel room a

piece of stationary containing a hand-written phone number provided to him by the lOs, as well

as an abbreviated version ofthe email address described above in Overt Act 10.

       13.     In or about July 2012, LEE traveled to Guangzhou, China.

       14.     From on or about August 10, 2012 to on or about August 15, 2012, LEE traveled

from Hong Kong to Fairfax, Virginia, with a layover in Honolulu, Hawaii. During this trip, LEE

possessed the following in his luggage:

       (a)     Two notebooks containing his hand-written notes pertaining to, among other
               things, CIA-related operational notes from asset meetings, operational meeting
               locations, operational phone numbers,true names of assets, and information about
               covert facilities. It was later determined that LEE's entries in these two books
               contained Top Secret and Secret national defense information ofthe United
               States;

       (b)     An electronic storage device, commonly known as a thumb drive, containing in
               the unallocated space ofthe device the classified document described above in
               Overt Act 5 that LEE had created on his laptop on May 26, 2010; and

       (c)     The same piece of stationary described above in Overt Act 12, with the
               handwritten addition ofa second phone number that had been provided to him by
               the lOs.

         15.   Beginning on or about December 3, 2012, and continuing until on or about

 December 7, 2012,in Falls Church, Virginia, LEE had additional interviews for re-

 employment with the CIA. During these interviews, LEE falsely claimed that he had not

 traveled back to China since April 2010.

         16.   On or about February 9,2013, an email was sent from the email account

 described above in Overt Act 10 to the same account. The subject ofthe email was "How's

 Christina?" The message read:

       "Long time no see. How's Christina's grade book ?

        We have not seen her recent grade book for a few months,maybe [sic] little girl always
        like changing her mind."

       17.     On or about May 30, 2013,two persons met with a former CIA employee

("Cooperating Witness" or"CW#1")outside ofthe United States. The two persons informed

CW#1,in sum and substance,that they were in the same line of work as she and did what she

used to do. CW#1 understood this to mean that they were Chinese lOs. Among other things, the

two lOs asked CW#1 about locations where she had worked and assets she had handled on

behalfofthe CIA. LEE had access to information about CW#1's activities while with the CIA,

and the lOs had tasked him with providing information about CW#1,among other things.

       18.     On or about May 22, 2013, in an interview with Special Agents ofthe FBI,in

Washington, D.C., when shown the document described above in Overt Act 5, LEE confirmed




                                               10
that the document contained CIA information but falsely denied creating the document or

knowing who did.

       19.    On or about January 15, 2018, in an interview with Special Agents ofthe FBI,in

Queens, New York, LEE falsely denied that he ever kept any work-related notes at home. When

shown a photocopy ofthe front covers ofthe notebooks described above in Overt Act 14(a), as

well as a copy of LEE's handwriting contained therein, LEE falsely denied that he possessed the

notebooks in Hawaii during the August 2012 layover. LEE falsely denied that either ofthe

books contained notes from asset meetings but conceded that any such notes would be classified.

LEE also falsely denied that he ever put the document described above in Overt Act 5 on a

thumb drive after he created the docimient on his laptop computer.

               (In violation of Title 18, United States Code, Section 794(a)&(c))




                                               11
                                           Count Two


                  Unlawful Retention of National Defense Information


       THE GRAND JURY FURTHER CHARGES THAT:


       1.      Paragraphs 1-19 ofthe General Allegations section ofthis Indictment are

incorporated by reference and re-alleged as though set forth fully herein.

       2.      On or about August 15, 2012, in Fairfax, Virginia, within the Eastern District of

Virginia, defendant JERRY CHUN SHING LEE, having unauthorized possession of, access to,

and control over documents, writings, and notes relating to the national defense, to wit: a 2002

Day Planner containing handwritten, classified information up to the Top Secret level pertaining

to, but not limited to, operational notes from asset meetings, operational meeting locations,

operational phone numbers,the true names ofassets, and covert CIA facilities, did unlawfully,

knowingly and willfully retain the same and fail to deliver them to the officer or employee ofthe

United States entitled to receive them.

                  (In violation of Title 18, United States Code, Section 793(e))




                                                12
                                           Count Three


                  Unlawful Retention of National Defense Information


        THE GRAND JURY FURTHER CHARGES THAT:

        1.     Paragraphs 1-19 ofthe General Allegations section ofthis Indictment are

incorporated by reference and re-alleged as though set forth fiilly herein.

       2.      On or about August 15,2012,in Fairfax, Virginia, within the Eastern District of

Virginia, defendant JERRY CHUN SHING LEE,having unauthorized possession of, access to,

and control over documents, writings, and notes relating to the national defense, to wit: an

address book containing handwritten, classified information up to the Secret level pertaining to,
but not limited to,the true names and phone numbers ofassets and covert CIA employees, as

well as the addresses of CIA facilities, did unlawfully,knowin^y and willfuUy retain the same

and fail to dehver them to the officer or employee ofthe United States entitled to receive them.

                 (In violation ofTitle 18, United States Code, Section 793(e))




                                                     FOREPERSON OF THE GRAND JURY

       Tracy Doherty-McCormick
       Acting United States Attomey


By:
       W.Neil Hammerstroi                           Patrick Murphy
       Assistant United Stat^                       Trial Attomey
                                                    U.S. Department ofJustice



                                                    Adam Small
                                                    Trial Attomey
                                                    U.S. Department ofJustice




                                               13
